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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
  VIVIAN PATZ and MICHAEL PATZ,             )
                                            )
                   Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
        v.                                  )
                                            )
  WALTER H. MAPLES, INC., et al.            ) Judge Susie Morgan
                                            ) Magistrate Janis van Meerveld
                  Defendants.               )
  _________________________________________ )



                                             ORDER
     Having duly considered the Motion in Limine Regarding Plaintiff’s Alleged Drug Use and

the arguments relevant thereto, IT IS HEREBY ORDERED that the motion is GRANTED.

     The Court orders that during trial, Defendants shall not put on any evidence, references to

evidence, or argument relating to Plaintiff Vivian Patz‘s drug use.



       New Orleans, Louisiana, this _____ day of ___________________, 20__.

                                             ____________________________________
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF LOUISIANA
